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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Joint Stock Company “Channel One Russia Worldwide,” *
Closed Joint Stock Company “CTC Network,” Closed Index No. 16-cv-1318
Joint Stock Company “TV DARIAL,” Closed Joint (GBD)(BCM)
Stock Company “New Channel”, Limited Liability
Company “Rain TV-Channel,”, and Limited Liability
Company “Global Entertainment TV”
Plaintiffs,
-against- STIPULATION AND
~PROPOSED}+ORDER

INFOMIR LLC ( www. infomirusa.com), INFOMIR GMBH,
ALEXANDER MARAHOVSKY, EVGENI LEVITIN,
TELECOMMUNICATIONS TECHNOLOGIES LTD.,
PANORAMA ALLIANCE, LP (www.mypanorama.tv),

ASAF YEVDAYEV, DAVID ZELTSER,

S.K. MANAGEMENT of NEW YORK INC., MOIDOM LLC,
TELEPROM, VDALI, MHCOM GmbH and

John Does 1-50.

Defendants.
xX

 

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned
counsel, that plaintiffs voluntarily dismiss, without prejudice, the following counts of Plaintiffs’
First Amended Complaint, ECF 211: Counts Six and Seven under the Lanham Act for Trademark
Infringement and False Advertising, Count Ten under GBL § 349, and Count Eleven common-law

unfair competition against Infomir LLC and S.K. Management of New York Inc..

IT IS FURTHER STIPULATED AND AGREED that this Stipulation may be executed
in counterparts and that signatures obtained via facsimile or email shall have the same force and

effect as original signatures.

 
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Dated: New York, New York
April 17, 2020

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